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IN THE UNITED sTATEs DISTRICT CoURT ‘51,»;_,,, t

 

FOR THE WESTERN DISTRICT OF TENNESSEE ;_,,r-,.il f `<9 ref ¢./:
EASTERN DIVISION » ~` FJ.O&

RAYMOND E. CLARK, )
)
Plaintiff, )
)

VS. ) No. 1-04-1300-T~An
)
CORRECTIONS CORPORATION OF )
AMERICA, et al., )
)
Defendants. )

 

ORDER DENYING PLAINTIFF’S MOTION FOR APPOINTMENT OF COUNSEL

 

Plaintiff Raymond E. Clark, an inmate an Hardeman County Correctional Facility
(“HCCF”) in Whiteville, Tennessee, brought this action, pro Se, pursuant to 42 U.S.C. §
1983 against Defendants Corrections Corporation of America (“CCA”), HCCF Warden
Glen Turner, and Captain Ron Brandis. Plaintiff files this motion for appointment of
counsel pursuant to 28 U.S.C. § l9l5(e)(l), arguing that appointed counsel is necessary
because he is illiterate.

A district court has broad discretion to request an attorney to represent a person
unable to employ counsel. 28 U.S.C. § 1915(e)(l). §eg Maclin V. Freake, 650 F.Zd 885,
886 (7m Cir. 1981); Moss v. Thomas, 299 F.Zd 729, 730 (G‘h Cir. 1962); Tumer v. Steward,
497 F. Supp. 557 (E.D. Ky. ]980). “[I]t is Well settled that in civil actions the appointment

of counsel should be allowed only in exceptional cases.” Willett v. Wells, 469 F. Supp. 748,

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751 (E.D. Tenn. 1977), a]j"'d, 595 F.2d 1227 (6‘]1 Cir. 1979) (quoting United States ex rel.
Gardner v. Madden, 352 F.2d 792, 794 (9th Cir. 1965)).

The court has considered the merits ofthe claim, the factual issues raised in the claim,
and the complexity of the legal issues raised in the complaint The court finds no
exceptional circumstances that warrant appointment of counsel in this case. Accordingly,
the motion of Plaintiff Raymond E. Clark for appointment of counsel is DENIED.

IT IS SO ORDERED.

@n/Wa;li/M

JAM S D. TODD
UNI ED STATES DISTRICT JUDGE

{C(?WM 9011$/

DATE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:04-CV-01300 Was distributed by faX, mail, or direct printing on
June 8, 2005 to the parties listed.

 

 

Raymond E. Clark
HCCF-WHITEVILLE
227052

P.O. Box 549

Whiteville, TN 38075--054

Honorable J ames Todd
US DISTRICT COURT

